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November 30, 2017

Peter A. l\/loore, Clerk of Court
United States District Court

201 South Evans Street, Room 209
Greenville, North Carolina 27858

Re: Epic Games, Inc. v. C.R.
5:17-cv-534-H
Dear Mr. l\/loore:

l am counsel of record for Plaintiff Epic Games, lnc. (“Epic”) in the above-
referenced civil action. Thank you for filing the unsigned ex parte correspondence from
the Defendant’s mother in the docket [DE-6] (the “Letter”). Un|ess otherwise directed by
the Court, Epic does not plan to file a substantive response to the Letter at this time.

We note that the Letter states that Defendant is a minor. Fed. R. Civ. P 5.2(a)

requires that “[u]nless the court orders othen/vise, . . . in an electronic or paper filing with
the court that contains . . . . the name of an individual known to be a minor. . . , a party
or nonparty making the filing may include only: . . . (3) the minor's initials . . .” ld.

(emphasis added.) Local Civil Rule 17.1(c) provides that “all parties to any litigation in
which a minor is a party. . . shall redact the minor child’s name from all documents filed
with the court. lf the name of the minor must be included in a document, including the
caption, only the initials of the child should be used.” ld.

We did not violate Rule 5.2(a) or Local Civil Rule 17.2 because we did not know
when we filed the papers that Defendant is a minor. Although there is an argument that
by submitting the Letter to the Court containing Defendant’s name and address,
Defendant’s mother waived this protection under Fed. R. Civ. P 5.2(h), which provides
that “[a] person waives the protection of Rule 5.2(a) as to the person’s own information
by filing it without redaction and not under seal,” we plan to include only Defendant’s
initials or redact his name entirely in all future filings with the Court, including this letter.

This letter is to request the Court’s guidance on whether the Court would like us
to file a motion to seal the papers currently on the docket that include Defendant’s full

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November 30, 2017
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name, re-file versions of those papers with Defendant’ s name redacted, or take any
other remedial action.

We look forward to your response.

Very truly yours,

/s/Christopher M. Thomas

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Attorney for P/aintiff Epic Games, /nc.

CMT:kt

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CERT|FICATE OF SERVICE
This is to certify that a copy of the foregoing document was electronically filed
this day with the Clerk of Court using the Cl\/l/ECF system and a true and accurate copy

will be sent by U.S. mail addressed to the following:

C.R.

c/o Lauren Rogers
5 Vireo Circle
Newark, DE 19711

This 30"‘ day of November, 2017.

/s/ Christopher lVl. Thomas

Christopher l\/l. Thomas

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